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               IN THE STATE COURT OF DEKALB COUNTY
                         STATE OF GEORGIA

 CLASSIC MILLWORK DESIGNS, INC., :
                                 :
     Plaintiff,                  :
                                 :
 vs.                             : CIVIL ACTION
                                            19A76333
                                 : FILE NO.:
 PENNSYLVANIA LUMBERMENS         : _____________________
 MUTUAL INSURANCE COMPANY,       :
                                 :
     Defendant.                  :

              COMPLAINT AND DEMAND FOR JURY TRIAL

      This is an action against an insurer that negligently or in bad faith failed to

accept a reasonable opportunity to settle within policy limits. S. Gen. Ins. Co. v.

Holt, 262 Ga. 267 (1992). Like most such cases, this one begins with a tragic

accident. The tragic accident took place on a construction site when a man fell

from a window to his death. The decedent’s survivors brought claims against

Classic Millwork Designs, Inc. (“CMD”), which installed the window. CMD is

insured by Pennsylvania Lumbermens Mutual Insurance Company

(“Lumbermens”). The decedent’s survivors offered to settle their claims against

CMD for Lumbermens’ policy limits of $1 million. Lumbermens rejected the

offer, gambling it could win at trial. The trial resulted in a ruinous judgment

against CMD of more than $24 million. Thus, CMD brings this action against

Lumbermens under Holt.


                                                                                          STATE COURT OF
                                                                                      DEKALB COUNTY, GA.
                                                                                         8/23/2019 10:28 AM
                                                                                                    E-FILED
                                                                                            BY: Siana Smith
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                   PARTIES, JURISDICTION AND VENUE

                                        1.

      CMD is a Georgia corporation authorized to transact business in Georgia.

                                        2.

      Lumbermens is an insurance company issuing policies to Georgia residents

and businesses, including CMD.

                                        3.

      Lumbermens has been served by service on its registered agent, Registered

Agent Solutions, 900 Old Roswell Lakes Parkway, Suite 310, Roswell, Georgia

30076.

                                        4.

      Lumbermens has agents doing business in DeKalb County.

                                        5.

      Lumbermens is subject to the jurisdiction of this Court.

                                        6.

      Venue is proper in this Court.




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              THE ACCIDENT AND UNDERLYING LAWSUIT

                                          7.

      CMD is a viable and successful business that for more than 30 years has

manufactured high-quality doors, windows, and other millworks.

                                          8.

      In April 2015, CMD replaced dormer windows in an attic at a renovation

project of a colonial-style office building in Norcross, Georgia.

                                          9.

      On May 1, 2015, Wade Blackwell, while in the attic at the renovation pro-

ject, fell through a window to his death (the “Accident”).

                                          10.

      Mr. Blackwell’s widow and the executor of Mr. Blackwell’s estate retained

attorneys to recover for the loss of their loved one.

                                          11.

      On March 31, 2016, Ms. Blackwell and the estate filed a lawsuit against

CMD styled Patricia Blackwell, individually, and Ted Sexton as administrator of

the estate of Wade F. Blackwell v. Classic Millwork Designs, Inc., Civ. Action No.

16-C-01755-S4, State Court, Gwinnett County, Ga. (together with any appeal,

“Underlying Lawsuit”). (A true and correct copy of the complaint in the Underly-

ing Lawsuit is attached as Exhibit A.)


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            LUMBERMENS’ ASSUMPTION OF THE DEFENSE

                                         12.

      Prior to the Accident, CMD had purchased commercial general liability in-

surance from Pennsylvania Lumbermens Mutual Insurance Company (“Lumber-

mens Insurance”) with $1,000,000 per occurrence limits. (A true and correct copy

of the “Policy” is attached as Exhibit B.)

                                         13.

      CMD paid all insurance premiums due on the Policy.

                                         14.

      CMD performed all conditions precedent to be entitled to liability coverage

under the Policy for the Accident.

                                         15.

      CMD has breached no conditions or other provisions of the Policy.

                                         16.

      The Policy provides liability coverage to CMD for the Accident.

                                         17.

      The Policy requires Lumbermens to provide a defense to CMD in the

Underlying Lawsuit.




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                                         18.

      Lumbermens hired attorneys of its choice to defend CMD in the Underlying

Lawsuit (“Insurance Defense Counsel”).

        LUMBERMENS REJECTS AN OPPORTUNITY TO SETTLE

                                         19.

      Early in the Underlying Lawsuit, CMD and its principal owner,

Mr. Clint Sapp, expressed a desire that the Underlying Lawsuit be settled.

                                         20.

      Prior to February 27, 2017, Lumbermens knew CMD desired that the Under-

lying Lawsuit be settled.

                                         21.

      By February 27, 2017, significant discovery had taken place in the Underly-

ing Lawsuit, providing Lumbermens adequate time to investigate and evaluate the

claims against CMD.

                                         22.

      By February 27, 2017, Lumbermens knew or reasonably should have known

through its own independent investigation and evaluation of the claims against its

insured that CMD faced a substantial risk of legal liability in excess of $1 million

in the Underlying Lawsuit.




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                                          23.

      On February 27, 2017, plaintiffs in the Underlying Lawsuit sent to Insurance

Defense Counsel an offer to settle the claims against CMD and resolve the Under-

lying Lawsuit for an amount within the Policy limits. (A true and correct copy of

the “Policy Limits Offer” is attached as Exhibit C).

                                          24.

      Insurance Defense Counsel promptly informed Lumbermens of the Policy

Limits Offer.

                                          25.

      The Policy provides as follows: “We may, at our discretion, investigate any

‘occurrence’ and settle any claim or ‘suit’ that may result.” (Exhibit B, CGL

Form, § I, Coverage A, ¶1a.)

                                          26.

      Under the terms of the Policy, Lumbermens had authority, power and discre-

tion to accept or reject the Policy Limits Offer.

                                          27.

      The duty to settle within policy limits is a nondelegable duty held by Lum-

bermens.




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                                          28.

       Lumbermens in fact assumed the duty to use its discretion under the Policy

to decide whether to accept or reject the Policy Limits Offer.

                                          29.

       The Policy Limits Offer was capable of acceptance by Lumbermens.

                                          30.

       The Policy Limits Offer was a valid offer to settle for the Policy limits.

                                          31.

       The Policy Limits Offer was a reasonable opportunity to settle the claims

against CMD for an amount within the Policy limits.

                                          32.

       The Policy Limits Offer was sent pursuant to O.C.G.A. § 9-11-68, which

provides that parties who reject such offers can be liable for the offeror’s attorneys

fees and litigation expenses, depending on the results at trial.

                                          33.

       The Policy Limits Offer was also an unliquidated damages demand sent

pursuant to O.C.G.A. § 51-12-14, which provides that parties who reject such

offers can be liable for pre-judgment interest on the ultimate award, depending on

the results at trial.




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                                         34.

      Lumbermens had a duty under the law and a contractual duty under the

Policy to investigate and evaluate the claims against CMD and make an

independent decision on whether to accept the Policy Limits Offer.

                                         35.

      Lumbermens had a duty under the law and a contractual duty under the Poli-

cy to independently inform and advise CMD of the risks posed by the Underly-

ing Lawsuit and the risks posed by rejection of the Policy Limits Offer.

                                         36.

      Had Lumbermens accepted the Policy Limits Offer, CMD would have been

released from further financial liability to the plaintiffs in the Underlying Lawsuit.

                                         37.

      Lumbermens decided to reject the Policy Limits Offer.

                                         38.

      Lumbermens did not authorize Insurance Defense Counsel to make a coun-

teroffer to the Policy Limits Offer.

                                         39.

      On April 6, 2017, Insurance Defense Counsel sent a letter rejecting the Poli-

cy Limits Offer without making a counteroffer. (A true and correct copy of the

“Rejection” is attached as Exhibit D)


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                                          40.

      The Rejection was made at Lumbermens’ direction.

                                          41.

      By and through Insurance Defense Counsel, Lumbermens rejected the Poli-

cy Limits Offer.

                                          42.

      Lumbermens reacted unreasonably to the Policy Limits Offer. By rejecting

the Policy Limits Offer, Lumbermens created an unreasonable risk of a verdict in

excess of the Policy Limits.

                                          43.

      In rejecting the Policy Limits Offer, Lumbermens failed to give CMD’s in-

terest in avoiding liability for a judgment in excess of the Policy Limits the same

consideration that it gave its own interest in paying less than the policy limits.


        TRIAL AND JUDGMENT IN EXCESS OF POLICY LIMITS

                                          44.

      The Underlying Lawsuit went to trial and, on November 30, 2018, resulted

in a unanimous verdict by twelve jurors awarding $17,886,210.50 in favor of the

plaintiffs and against CMD.




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                                          45.

      The court in the Underlying Lawsuit determined that rejection of the Policy

Limits Offer entitled plaintiffs in the Underlying Lawsuit to pre-judgment interest

under O.C.G.A. § 51-12-14.

                                          46.

      The court in the Underlying Lawsuit awarded pre-judgment interest of

$115,734.79 in favor of plaintiffs and against CMD.

                                          47.

      The court in the Underlying Lawsuit determined that rejection of the Policy

Limits Offer entitled plaintiffs to portions of the attorneys’ fees and litigation ex-

penses incurred in prosecuting the Underlying Lawsuit.

                                          48.

      The court in the Underlying Lawsuit awarded attorneys’ fees and expenses

of litigation in the amount of $6,247,235.16 in favor of plaintiffs and against CMD.

                                          49.

      On April 10, 2019, the court in the Underlying Lawsuit entered an Amended

Final Judgment in the total amount of $24,249,180.45 (A true and correct copy of

the “Judgment” is attached at Exhibit E.)




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                                        50.

       The Judgment states that Georgia statutory law subjects the Judgment to

post-judgment interest of 8.25 percent annually. The Judgment is in fact subject to

post-judgment interest of 8.25 percent annually.

                                        51.

       CMD is personally responsible for the Judgment and all post-judgment

interest.

                 LUMBERMENS POST-VERDICT ACTIONS

                                        52.

       After the verdict, Lumbermens retained additional attorneys as additional In-

surance Defense Counsel.

                                        53.

       During proceedings on the amount of attorneys’ fees and expenses of litiga-

tion to be awarded against CMD, Insurance Defense Counsel retained an expert to

opine on the Policy Limits Offer, the Rejection, and the amount of attorneys’ fees

and expenses of litigation.

                                        54.

       During such proceedings, the expert opined in open court that the rejection

of the Policy Limits Offer was reasonable.




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                                         55.

        The opinion is harmful to CMD with respect to this action. At the time the

opinion was expressed, Lumbermens knew about the opinion, knew it was harmful

to CMD with respect its claims against Lumbermens and desired that the opinion

be expressed so as to prejudice CMD with respect to its claims against Lumber-

mens.

                                         56.

        Lumbermens did not inform CMD of the opinion or advise of its potentially

adverse impact on CMD’s interests and potentially beneficial impact on Lumber-

mens’ interests.

                                         57.

        Lumbermens decided to appeal the Judgment.

                                         58.

        By its actions, Lumbermens has exhibited a willingness to conduct the ap-

peal in a manner that is prejudicial to CMD’s interests in this action.

                                         59.

        If Lumbermens had posted an appellate bond in the amount of $25 million,

CMD would have been protected from post-judgment collection efforts during the

pendency of the appeal.




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                                         60.

       CMD insisted that Lumbermens post a bond in the amount of $25 million to

protect CMD from Lumbermens’ actions, but Lumbermens refused to do so.

                                         61.

       Lumbermens decided to post an appellate bond of only $1 million.

                                         62.

       As a result, plaintiffs in the Underlying Lawsuit are entitled to and have

initiated post-judgment collection efforts against CMD, causing damage to CMD.

                                         63.

       The Judgment and post-trial proceedings garnered significant news

coverage, damaging CMD’s reputation.

                            COUNT 1
            FAILURE TO SETTLE UNDER THE COMMON LAW

                                         64.

       CMD incorporates and realleges paragraphs 1-63 of this Complaint as if ful-

ly set forth herein.

                                         65.

       Lumbermens had reasonable opportunities to settle the claims against CMD

within policy limits.




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                                          66.

      Lumbermens had a duty to CMD to investigate, evaluate, negotiate, settle,

and defend the claims presented against its insured.

                                          67.

      The provision giving Lumbermens discretion to settle creates a nondelegable

duty to make reasonable settlement decisions when presented with a valid offer to

settle within the policy limits, including the Policy Limits Offer.

                                          68.

      Lumbermens breached its duties by failing to adequately investigate and

evaluate the claims, which failure to investigate and evaluate contributed to Lum-

bermens’ failure to accept reasonable opportunities to settle the claims within poli-

cy limits, including the Policy Limits Offer.

                                          69.

      Lumbermens failed to treat CMD’s interests equal to its own interests by

gambling that it could save some of its policy limits by taking the case to trial ra-

ther than accepting settlement under the terms available and by its handling of the

Underlying Lawsuit.

                                          70.

      In deciding to try the case rather than settle it, Lumbermens gambled with

CMD’s financial interests at stake.


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                                           71.

      Lumbermens breached duties owed to CMD in handling the subject claim,

failed to act as a reasonably prudent liability insurer, and negligently, or fraudu-

lently, or in bad faith and with a specific intent to injure failed to settle the claims,

damaging CMD as described herein.

                                           72.

       In addition, or in the alternative, Lumbermens’ negligent or bad faith failure

to settle was caused by its failure to hire and retain competent claims professionals

and by its failure to train, supervise, provide time and resources to, or otherwise

manage its claims professionals as would a reasonably prudent insurer that was

attempting to or desired to treat its insured’s interests equal to its own interests.

                                           73.

       In addition, or in the alternative, Lumbermens’ negligent or bad faith failure

to settle was caused by its failure to properly hire, monitor and supervise defense

counsel as would a reasonably prudent insurer that was attempting to or desired to

treat its insured’s interests equal to its own interests.

                                           74.

       Because Lumbermens’ actions and omissions, CMD was forced to endure

the expense and trouble of litigation and trial, post-trial collection efforts, and lia-

bility for the Judgment.


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                                          75.

       As a result of the breaches of duties to its insured and its bad faith, Lumber-

mens is liable to CMD for the full amount of the judgment, plus interest and other

damages.

                              COUNT 2
                ATTORNEYS' FEES UNDER O.C.G.A. § 13-6-11

                                          76.

       CMD incorporates and realleges paragraphs 1-75 of this Complaint as if ful-

ly set forth herein.

                                          77.

       Lumbermens’ actions and omissions constitute bad faith, stubborn litigious-

ness, and have caused CMD unnecessary trouble and expense within the meaning

of O.C.G.A. § 13-6-11, entitling CMD to attorneys’ fees and other expenses of liti-

gation in this lawsuit.

                                   COUNT 3
                              PUNITIVE DAMAGES

                                          78.

       CMD incorporates and realleges paragraphs 1-77 of this Complaint as if ful-

ly set forth herein.




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                                           79.

      The actions of Lumbermens show willful misconduct, wantonness, and that

entire want of care which would raise the presumption of conscious indifference to

the consequences to its insured.

                                           80.

      The conduct of Lumbermens was deliberate and intentional and was the con-

scious and calculated result of Lumbermens’ decision to give greater importance to

its own interests rather than to the interests of its insured.

                                           81.

      Lumbermens’ willful misconduct, malice, fraud, wantonness, oppression,

or that entire want of care which would raise the presumption of conscious indif-

ference to consequences with the specific intent to cause harm entitles CMD to pu-

nitive damages within the meaning of O.C.G.A. § 51-12-5.1.

                                           82.

      By reason of the foregoing, CMD is entitled to an award of punitive damag-

es pursuant to O.C.G.A. § 51-12-5.1 against Lumbermens in such amount to be de-

termined by the enlightened conscience of a fair and impartial jury so as

to penalize, punish or deter Lumbermens from repeating such conduct.




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                          DEMAND FOR JURY TRIAL

      WHEREFORE, CMD prays for judgment in its favor and against Lumber-

mens for the following:

      A.    That it have a trial by jury;

      B.    That it have and recover the following:

            1.    Special damages in the sum of $24,249,180.45, representing the

                  principal amount of the Judgment;

            2.    All post-judgment interest accruing on the Judgment;

            3.    Further special damages;

            4.    General damages in an amount to be determined by the enlight-

                  ened conscious of a fair and impartial jury;

            5.    Nominal damages for each and every count of this complaint;

            6.    Reasonable attorneys’ fees and expenses in this litigation;

            7.    Punitive damages (pursuant to OCGA § 51-12-5.1 or otherwise)

                  in such amount that the jury deems adequate to punish and deter

                  Lumbermens in light of the aggravated nature of its conduct, its

                  financial circumstances, and its intent to cause harm;

            8.    That all costs be taxed against Lumbermens;

            9.    Pre-judgment interest; and,

            10.   Other and further relief as the Court may deem just and proper.


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   Respectfully submitted on August 23, 2019.


/s/ Richard E. Dolder                     /s/ Shattuck (Tucker) Ely
James (Jay) Sadd                          Shattuck (Tucker) Ely
Georgia Bar No. 622010                    Georgia Bar No. 246944
Richard E. Dolder                         Michael C. Gretchen
Georgia Bar No. 220237                    Georgia Bar No. 522171
SLAPPEY & SADD, LLC                       FELLOWS LABRIOLA LLP
352 Sandy Springs Circle                  Peachtree Center South Tower
Atlanta, GA 30328                         225 Peachtree Street, Suite 2300
(404) 255-6677                            Atlanta, GA 30303
rich@lawyersatlanta.com                   404-586-9200
jay@lawyersatlanta.com                    tely@fellab.com
Attorneys for CMD                         mgretchen@fellab.com
                                          Attorneys for CMD




                                                                   STATE COURT OF
                                                                   DEKALB COUNTY, GA.
                                                                   8/23/2019 10:28 AM
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                                                                   BY: Siana Smith



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                                                                                                                              I
                                                                                                                                      J   F
                                                                                                                                                JI
                                                                                                                                  F



                                      N THE       STATE          COURTOF GWINNETT COUNTY

                                                            STATE OF GEORGIA
                                                                                                                                          16LE                   Cl   p    I




PATRICIA         BLACKWELL                    Individually

and    TED   C SEXTON                as   Administrator          of

The Estate of Wade             F     Blackwell                                       CIVIL      ACTION           FILE


          Plaintiff                                                                  NO

VS                                                                                     16         C          OJT             55                      4
                                                                                     JURY TRIAL DEMANDED
FIZZ CITY PROPERTY LLC
TUCKER DOOR     TRIM LLC
GIBSON CONSTRUCTION COMPANY
and CLASSIC MILLWORK DESIGNS INC



          Defendants



                                            COMPLAINT                 IN   TORT FOR DAMAGES

          COMES             NOW           Plaintiff   Patricia        Blackwell       hereinafter       Mrs            Blackwell                     and   Ted        C

Sexton     as the     Administrator            of The Estate          of   Wade F      Blackwell        hereinafter               Mr          Sexton         or the




Administrator               in the   above-stylcd       action        and   file   this their   Complaint         in   Tort for Damages                     against




Defendants      Fizz City Property                LLC   Tucker         Door         Trim LLC        Gibson        Construction                  Company          and



Classic   Millwork           Designs        Inc   hereinafter collectively               referred to        as   the       Defendants                      showing



this   Honorable Court as follows




                                           PARTIES J-URISDICTION AND VENUE

                                                                             I




          Mrs    Blackwell           is   a resident    of the State of Georgia and                is   authorized to bring this action                               in




her capacities        as   Surviving        Spouse     of   Wade       F    Blackwell       Mr     Sexton        is    a   resident        of the State           of




Georgia    is   the   duly appointed           Administrator of the Estate of               Wade        F   Blackwell             and      is    authorized       to




bring this action          on behalf of the estate          in   such capacity




                                                                                                                                                                           A
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                                                                                           2
               Defendant              Fizz City Property                  LLC    FC            Property             is     a    Georgia limited                       liability           company


 with                                                                                                                                 licensed                      conduct
                                     place of business                   Fulton County Georgia                                                                                       business
         its                                                        in                                                     It   is                            to                                      ill
                principal



 the    State        of Georgia             and   may        be    served       with       process       via        Second            Original                through         its
                                                                                                                                                                                      registered




 agent     Sandee           F Simon            located       at   3978 Spalding Glen Drive Atlanta Georgia                                                     30360       unless service




 is   otherwise acknowledged



                                                                                           3
               Defendant               Tucker      Door              Trim        LLC Tucker                     Door                  is        a     Georgia           limited           liability




                    with                                          of busincss         in   Walton        County Georgia                                  It   is    licensed         to   conduct
company                        its    principal    place



business            in   the    State      of Georgia             and    may     be    served     with         process           via            Second             Original through              its




registered           agent           Ryan J     Siler       located       at   2500 Culpepper Trace                             Bethlehem                     Georgia 30620                 unless




service        is   otherwise          acknowledged


                                                                                           4
               Defendant              Gibson      Construction                 Company          Gibson                     is    a     Georgia                 corporation                with   its




principal           place      of business        in   Fulton County Georgia                        It    is   licensed              to    conduct                 business      in   the    State




                         and               be served with           process via Second
of Georgia                                                                                                                                      its                                        Daniel
                                may                                                                  Original               through                      registered        agent



P     Gibson             located      at   3105   Salisbury Drive                Alpharetta              Georgia               30004            unless service                  is   otherwise



acknowledged


                                                                                           5
               Defendant             Classic    Millwork           Designs Inc Classic Millwork                                            is   a     Georgia corporation with



its
      principal          place       of business       in   Gwinnett County Georgia                            It     is    licensed                to   conduct        business            in the




State    of Georgia                  and    may   be    served           with   process         through         its        registered                agent           Clinton         W      Sapp


located        at        405     North        Crosslane           Road          Monroe          Georgia             30656                 unless              service      is        otherwise



acknowledged




                                                                                           2
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                                                                                          6
           Venue            is
                                 proper in Gwinnett County pursuant                              to   OCGA              14-2-5       1   Ob3       and       OCGA                 9

 10-3   Ib          This         Court has subject               matter jurisdiction                  over    this   action        and     venue    is
                                                                                                                                                             Proper   ii-I       this




 Court


                                                                  BACKGROUND FACTS

                                                                                          7
          Plaintiff realleges                     and    reincorporatcs         the       allegations         contained       in    Paragraphs           I   throtigh        6    by



 reference     as     if
                           fully      set forth      herein



                                                                                      9
          At        all     times           relevant      to    this    cause        of     action           Wade      F   Blackwell              hereinafter                Mr

Blackwell                 was        fifty-two      52        years     old    and        the
                                                                                                  spouse       of Plaintiff          Patricia      Blackwell                 Mr

Blackwell       bad worked                   in   the   construction          industry          his   entire   professional              life   and in       May     of 2015



was doing business                    as   Wade         Blackwell       Construction


                                                                                      9
          At        all    times           relevant      to    this    cause    of        action       Defendant           FC      Property        owned         a    certain




Williamsburg               style       office      building       located      at    3201        Peachtree           Corners Circle              Norcross            Georgia



30092     This building will be hereafter                             referred to as          the Premises


                                                                                     10

          Sometime               prior to         May 1       2015 Defendant               FC     Property hired Defendant                      Gibson       as a general




contractor     to     renovate             the    Premises



                                                                                     It

          As   part        of the renovation process Defendant                                Gibson         contacted     Mr        Blackwell           and asked           him



to   provide   it    with        a    cost   proposal         for repairing         the   rotting      wood      trim    around          the    dormer windows                   on



the   top of the Premises




                                                                                      3
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                                                                                            12

              fn    order to prepare                 a   proposal        for   performing            the   work requested              by Defendant            Gibson        Mr

 Blackwell           needed          to    first    see     the       building     and          review     the    work he        was being          asked       to
                                                                                                                                                                      perform


Defendant           Gibson instructed                    Mr      Black-well       to    work out         the     date   and time of       his visit      to    the    Premises



withjob        superintendent                Thomas             Deangelis         an employee of Defendant                      Gibson


                                                                                            13

              Mr     Blackwell             and      Mr      Deangelis          made arrangements                  to    meet    at the   property on the morning


of    May 1 2015


                                                                                            W
              On May 1 2015                        Mr    Blackwell          met    Mt           Dearigelis at the        Premises            Mr     Deangelis          led   Mr

Blackwell           to    the   second story then pulled                         down       the    stairs to the attic         and led       Mr    Blackwell           into the




unfinished          attic      space


                                                                                            15

              Mh     Deangelis             directe Mr                 Blackwell        to    one of the newly installed dormer windows                                  These



new windows                    had   been          manufactured            by     Defendant             Tucker         Door     and installed          in     their    current




position      by Defendant                Classic        Millwork


                                                                                            16

              The dormer window                       to   which        Mr     Deangelis           directed       Mr    Black wcll       the       Window              was    in



                                                            d
the   attic   which            comprised the 3                  story    of the PrOMiSeS                The wood         trim    on the exterior of the dormer



surrounding              the    new window was                    rotting        and    in      need of repair           This     is   the    repair     for    which        Nh

Blackwell          was asked          to    submit a proposal



                                                                                        17

              Mr     Blackwell             inspected            the    rotting    trim from             inside the      attic     Once       lie   had completed             his




inspection of this               window             Mr      Blackwell          attempted           to   close     the   window           While      in   the    process      of



              the    window           one          of the       window         sashes        suddenly       and without           warning separated                  from    its
closing




                                                                                            4
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anchor points causing the                    sash    Mr    Blackwell             was attempting            to close to             break free      from the           window


frame causing              Mr      Blackwell       to lose his    balance          and   fall     to the       brick steps          three    stories     below


                                                                                   18

           As    a direct          and proximate result of the acts                     and omissions of Defendants                             Mr      Blackwell        died



on the front steps of an office                     building on a Friday niorning



                                                                                   19

           Mr        Blackwell's           death was easily avoidable                   and was the direct and proximate                                result   of one or



more of Defendants                      negligence


                                                           COUNT      NEGLIGENCE
                                                                             I


                                                            10efendant FC Property



                                                                                   20

           Plaintiff realleges              and feincorporates               the allegations            contained                                       through         19 by
                                                                                                                            iii
                                                                                                                                   Paragraphs       J




reference       as   if
                          Rilly    set    forth   herein



                                                                                   21

           At   all       times relevant           M-r Blackwell            was a business             invitee    on the Premises



                                                                                   22

           Defendant               FC     Property     owed       a    duty        to   Nfr       Blackwell            to         exercise      reasonable            care   in




                     the    Premises        in a   reasonably         safe       condition        to   reasonably           inspect       the   Premises         to   ensure
maintaining



there   were no           latent   dangers and to warn of latent dangers


                                                                                   23

           Defendant              FC     Property was negligent and breached                             its    duty    to        Nfi Blackwell           by failing         to




exercise    reasonable              care    in                        the    Premises        in    a   reasonably                 safe   condition       by   failing        to
                                                  maintaining



reasonably       inspect          the    Premises    for latent       dangers and by failing to warn of latent                                  dangers




                                                                                    5
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                                                                                           24

               ft   was foreseeable                  that        Mr         Blackwell      of    others    could     be      injured    or    killed      as       a   result     of



Defendant            FC        Property's        breach of            its
                                                                             duty



                                                                                           25

           As            a    direct    and     proximate             result    of Defendant             FC   Property's       negligence           and breach             of     its




duty Wade Blackwell                           lost his      life       Therefore         Georgia law provides that Plaintiff                    Patricia           Blackwell



should    recover               the    full    value       of the       life    of her husband            pursuant      to   OCGA              51-4-1 etseq                     and



Plaintiff       Sexton should                 recover           compensatory          damages on behalf of                Mr    Blackwell's          estate




                                                                      COUNT         11     NEGLIGENCE
                                                                               Defendant Gibson


                                                                                           26

          Plaintiff realleges                    and      reincofporates             the   allegations        contained       in
                                                                                                                                   Paragraphs         I   through 25             by


reference           as   if
                              fully    set forth      herein



                                                                                           27

          As         the       general         contractor             for    construction        and     repairs     being     performed            on the         Premises



Defendant            Gibson            owed      a    duty       to    Mr       Blackwell        to   exercise     reasonable          care    in    maintaining                tile




Premises in a reasonably                         safe     condition            to
                                                                                    reasonably        inspect     the   Premises       to    ensure       there        were no


latent   dangers and to warn                         of latent dangers



                                                                                           28

          Defendant                   Gibson breached                 its   duty to   Mr        Blackwell



                                                                                           29

          It        was foreseeable                  that       Mr     Blacl well          or   others    could    be     injured      or    killed       as   a       result    of



Defendant           Gibson's breach                  of   its
                                                                 duty




                                                                                            6
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                                                                                        30

            As a        direct       and proximate result of Defendant                           Gibson's negligence                     and breach Pf duty                Wade


Blackwell             lost his       life     Therefore          Georgia              law     provides       that          Plaintiff    Patricia       Blackwell          should



recover         the   full    value       of the     life   of her husband              pursuant        to   OCGA                      51-4-1     et
                                                                                                                                                       seq and          Plaintiff




Sexton should                recover        compensatory         damages on behalf of M-n Blackwell's                                      estate




                                                             COUNT              Ill      NEGLIGENCE
                                                             Defendant                Classic Millwork



                                                                                        31

           Plaintiff'reatleges                and reincorporates the allegations                             contained           in    Paragraphs        I
                                                                                                                                                             through 30 by



reference        as   if
                           ftilly
                                     set forth      herein



                                                                                        32

           At     all      relevant       times Defendant             Classic         Millwork         owed        a       duty to    Mr   Blackwell          and others        to




exercise        reasonable            care    in
                                                    properly     installing            the    Window          in       a    reasonably safe and workmanlike



condition



                                                                                       33

           Defendant                Classic        Millwork       breached              its
                                                                                               duty    to    Mr            Blackwell        by    failing         to   exercise




reasonable        care in installing               the    Window       in   a    reasonably           safe   and workmanlike                    manner


                                                                                       34

           It    was foreseeable                   that     Mr   Blackwell             or     others   could           be     injured      or   killed       as   a    result   of



Defendant         Classic           Millwork's breach            of   its   duty


                                                                                       35

          As      a     direct      and     proximate result of Defendant                        Classic       Millwork's               negligence           and breach         of



duty Wade Blackwell                       lost his life      Therefore                Georgia law provides that Plaintiff                           Patricia       Blackwell




                                                                                        7
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 should    recover            the   full    value     of the        life   of her husband           pursuant       to   OCGA              51-4-1         et   seq and


Plaintiff       Sexton should recover                      compensatory            damages on behalf of             Mr       Blackwell's        estate




                                                              COUNT           IV         NEGLIGENCE
                                                                    Defendant Tucker                 Door


                                                                                     36

           Plaintiff          realleges       and reincorporates               the allegations            contained     in   Paragraphs          I
                                                                                                                                                      through    35   by



reference       as   if   fully     set forth       herein



                                                                                     37

           Defendant                Tucker      Door         had       a   duty     to        exercise     reasonable        care   in    its
                                                                                                                                                     manufacturing



packaging         distribution             and sale of        its    products        including       the    Window


                                                                                     38

           It   was foreseeable                that    the    Window would                    be installed       on a second or          third       story    and   Mr

Blackwell        was      a   foreseeable           user of Tucker           Door's products



                                                                                    39

           It   was       foreseeable         byfucker           Door       that   its       Window would         be sold without         adequate warnings



or   adequately       comMUDicated                  warnings or without adequate                         installation   instructions




                                                                                    40

           Tucker         Door knew            or     in   the   exercise      of reasonable              care   should   have      known        of the       inherent




                                                                                                Window       of not permanently affixing assembly
danger of not placing                 adequate warning labels on the



and mounting              instructions        on the        Window          and of not adequately                communicating            warnings           by labels



attached    to the        Window           itself




                                                                                         8
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                                                                                  41

            Tucker        Door breached             its
                                                           duty     to   Mr       Blackwell          by failing     to   exercise       reasonable     care      by



 manufacturing            the   Window      in     such a     way        that    the   upper sash would           fall    from the      Window when             not



 intended



                                                                                  42

            Tucker        Door breached            its
                                                          duty to    Mr         Blackwell       by failing     to exercise         reasonable       care   in   the




manufacture              packaging      distribution              and      sale       of the    Window         by    failing       to
                                                                                                                                        permanently         affix




adequate      warnings          and instructions on the structure                      of the   Window         itself




                                                                                  43

            Tucker        Door breached            its    duty to    Mr     Blackwell           by failing to exercise             reasonable       care   in   the




manufacture            packaging      distribution            and sale of the            Window         by failing       to
                                                                                                                               adequately      communicate



warnings and instructions by placing                         labels      on the structure            of the   Window          itself




                                                                                  44

          As      a    direct    and proximate             result     of these failures              by Tucker       Door         Plaintiff    is   entitled    to




recover     the   fall    value    of the   life     of her husband               pursuant      to   OCGA                51-4-1 et      seq     and Plaintiff



Sexton    sbould         recover   compensatory             damages on behalf of k1r Blackwell's                              estate




                                COUNT V             STRICT LIABILITY                       FOR DE SIGN DE FECT
                                                            Defendant Tucker                    Door

                                                                                 45

          Plaintiff       realleges   and     reincorporates the allegations                         contained      in   Paragraphs       I   through 44 by



reference    as   if
                       fully set forth      herein




                                                                                  9
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                                                                                     46

            Pursuant           to    OCGA                  51-1-11        a   manufacturer         of a product               is
                                                                                                                                   strictly
                                                                                                                                                  liable       for        damages


caused      by    such product               if    sold     in   a   defective       condition         and    such       defect       existed           when         it    left   the




manufacturer



                                                                                  47

            The Window                 was        either defectively           designed         or defectively           manufactured               by Tucker                Door


because     the       Window          was new and            the
                                                                     tipper
                                                                              sash    failed to      ren-iain      in
                                                                                                                         place      and    fell    from the               Window


when   Mr      Blackwell             was     trying to close the              Window       causing his death



                                                                                  48

          The              Window       was        also     designed          defectively        by     Tucker           Door        because            there         were        no


instructions          for
                             proper assembly and mounting permanently affixed to the                                               Window         itself




                                                                                 49

          These defects were                      present in the product             at   the   time   it   left   the   hands of Tucker                 Door


                                                                                 50

          As      a        direct   and proximate                result   of these        failures     by Tucker           Door           Plaintiff       is    entitled          to




recover     the   full       value     of the      life    of her husband        pursuant
                                                                                                  to   OCGA                   51-4-1 et           seq      and Plaintiff



Sexton should               recover    compensatory               damages on behalf of               Mr      Blackwell's            estate




                              COUNT          VI           STRICT LIABILITY                      FOR WARNING DEFECT
                                                                 Defendant Tucker                 Door

                                                                                 51

          Plaintiff realleges                and       reincorporates the allegations                  contained         in   Paragraphs            I
                                                                                                                                                        through            50 by



reference    as       if
                           fully    set forth      herein



                                                                                 52

          Tucker            Door      failed      to    cause     adequate       warning         labels      to    be affixed         to    the     structure              of the



Window      itself




                                                                                  10
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                                                                                           53

             Tucker           Door      failed to     adequately           communicate warnings regarding                              the   use of the          Window by


 failing    to   place warning labels                  on the      Window          itself




                                                                                       54

            As        a    result   of the     failures      by Tucker            Door         to   adequately       warn consumers                  and    to
                                                                                                                                                                 adequately



 communicate                 warnings         to    consumers              the    Window              Mien         sold   by     the    manufacturer               was      not



 merchantable              and reasonably            suited       to the   use intended



                                                                                       55

            As        a    direct   and       proximate           result    of these failures                by Tucker         Door          Plaintiff      is   entitled    to




recover      the      full    value     of the      life    of her husband             pursuant         to   OCGA                51-4-1        et    seq    and Plaintiff



Sexton should                recover     compensatory              darnages on behalf of NIr Blackwell's                               estate




                                                     COUNT           VII         PUNITIVE               DAMAGES
                                                                     fas to all        Defendants




                                                                                       56

            Plaintiff realleges               and    reincorporates              the allegations             contained      in
                                                                                                                                 Paragraphs           I
                                                                                                                                                           through 55       by



reference        as   if            set forth      herein
                           fully



                                                                                       57

            Defendants                conduct          was        reckless         showed             willful       misconduct               malice         wantonness


conscious        indifference           and want of care for the                                              of Defendants            actions
                                                                                   consequences


                                                                                       58

           Defendants               reckless         willful       misconduct                  malice    wantonness            and want             of care      raises the




presumption               of conscious         indifference          to     the                               of Defendants              actions          which    entitles
                                                                                   consequences



Plaintiff    to       an     award       of    punitive        damages            in   an       amount        to   be     determined          by     the    enlightened



conscious        of a      fair   and   impartial          jury




                                                                                       I   I
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                                                                             COUNT          V111

                          ACTION OF THE ESTATE FOR PAJIN AND SUFFE PJNG AND
                                BURIAL EXPENSES DUE TO NEGLIGE NCE
                                                                    as    to    all   Defendants


                                                                                      59

            Plaintiff                            and incorporates             the     allegations    contained      in   Paragraphs           I
                                                                                                                                                   through      58   by
                           re-alleges



rettrence as     if   ftilly   set forth          herein



                                                                                      60

            As   a    result   of Defendants                     negligence           4r   Blackwell     experienced          pain      and extreme             shock


fright   and terror as he        fell       fi-orn    the   Window       sorne thirty plus          feet to his   death




                                                                                      61

          As     a    result    of Defendants                    negligence            Mr     Blackwell's    estate       incurred       funeral          and    other




expenses


                                                                                      62

          Plaintiff       Sexton        1   s   the   Administrator           of the Estate of      Wade    F     Blackwell        and   is       the   proper party



to assert   a claini for the pain and suffering and                             burial      and other expenses           of   My   Blackwell             pursuant to



OCGA             51-4-5 b



                                                         COUNT          IX     ATTORNEY'S FEES
                                                                   as    to    all    Defendants


                                                                                     63

          Plaintiff realleges                   and reincorporates the allegations contained                        in   Paragraphs           I
                                                                                                                                                   through      62   by



reference    as if    fully    set forth fiereim




                                                                                     64

          Defendants           have              acted      in    bad    faith         been    stubbornly         litigious     and       caused           Plaintiff




unnecessary      trouble       and expense                  As    a result     of Defendants          conduct       Plaintiff      is   entitled to        recover




                                                                                      12
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pursuant     to   OCGA           13-6-11      all    reasonable         attorney's           fees       and expenses         incurred in Pursuing        this




action



                                                               PRAYERS FOR RE LIEF



         WIFTI-REFORE                          pray that this Court grant the following relief
                                 Plaintiffs




         a         Enter     a   judgment         against       all    Defendants                in    favor of    Mrs       Blackwell       as   Surviving



                   Spouse of       Wade       F     Blackwell          for the       full   value of the        life   of    Mr    Blackwell       pursuant



                   to    OCGA           51-4-1           et    seq


         b         Enter a judgment            against
                                                               all    Defendants            in   favor of     Mr       Sexton      as   Administrator of



                   the    Estate   of   Wade        F    Blackwell            for     the    pain       and   suffering      and burial       expenses    of



                   Mr     Blackwell     pursuant          to   OCGA                   51-4-5 b


         c         That Plaintiffs      recover          general       and special           damages from Defendants                    in   an amount to



                   be determined by a             fair   and impartial jury



         d         That    Plaintiffs    recover          punitive        damages                in    an   arnount     to    be   determined       by   the




                   enlightened      conscience           of a fair and impartial jury



         e         Enter a judgment in favor of Plaintiffs                            for   all       reasonable   attorney's       fees     and expenses



                   of litigation    incurred in bringing this action                             and



         f         For such other       and further relief as                 this    Court deems just and proper




                                   DATE AND STGNATURE                                 ON NEXT PAGE




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                   Respectfully   submitted   this   3   1   st   day of   March 2016



                                                             MAHAFFEY           PfCle-ENS   TUCKER   LLP




                                                             Gerald Davidson         Jr

                                                             Georgia Bar     No    206600
                                                             Steven    A   Pickens

                                                             Georgia   Bar   No    577850
                                                             Joshua    P   Johnson

                                                             Georgia   Bar   No    539957

                                                             Attorneys     for Plaintiff




1550 North Brown Road

Suite   125

Lawrenceville      Georgia 30043

770     232-0000




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                                                B
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                      IN THE STATE COURT OF GWINNETT COUNTY                      GtfWtrr C0ONTY. 6A

                                      STATE OF GEORGIA                          19 APR 10 PH 2:15
                                                                              RICHARD ALEXANDER. CLERK
PATRICIA BLACKWELL, Individually
and TED C. SEXTON as Administrator of
The Estate of Wade F. Blackwell,                      CIVIL ACTION FILE

        Plaintiff,                                    NO.: 16-C-01755-4

vs.

CLASSIC MILL WORK DESIGNS, INC.

        Defendant.

                                AMENDED FINAL JUDGMENT

        The above-styled case came before the Court during the week of November 26, 2018 for a

trial by jury, the Honorable Joseph C. lannazzone, presiding. The trial concluded with a jury verdict

on November 30, 2018. The issues having been duly tried, and the jury having duly rendered its

verdict, the Court entered FINAL JUDGMENT on the jury’s verdict on December 5, 2018. The

Judgment indicated that any Motion for Attorney’s fees filed pursuant to O.C.G.A. §9-11-68 would

be addressed by separate order. Such a motion having been filed and addressed by separate order, it

is necessary to amend the Final Judgment, nunc pro tunc, to add the attorneys’ fees awarded by the

court. Accordingly, this Court hereby enters the following AMENDED FINAL JUDGMENT on

the jury’s verdict:

        1. That JUDGMENT is hereby entered in favor of Plaintiff Patricia Blackwell,

            Individually, against Defendant Classic Millwork Designs, Inc., in the sum of

            $12,872,249.00 plus pre- judgment interest in the amount of $115,734.79 (calculated

            through December 3,2018).

        2. That JUDGMENT is hereby entered in favor of Plaintiff Ted C. Sexton, as


                                                  1




                                                                                                   E
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           Administrator of The Estate of Wade F. Blackwell, against Defendant Classic Millwork

           Designs, Inc., in the sum of $5,013,961.50.

       3. That JUDGMENT is hereby entered in favor of Plaintiff Patricia Blackwell,

           Individually, against Defendant Classic Millwork Designs, Inc., for attorneys’ fees in the

           sum of $4,428,053.66 and expenses of litigation in the sum of $70,053.03.

       4. That JUDGMENT is hereby entered in favor of Plaintiff Ted C. Sexton, as

           Administrator of The Estate of Wade F. Blackwell, against Defendant Classic Millwork

           Designs, Inc., for attorneys’ fees in the sum of $1,724,802.76 and expenses of litigation

           in the sum of $24,325.71.

       All sums awarded in this JUDGMENT (other than pre-judgment interest) shall accrue post­

judgment interest as provided by O.C.G.A. § 7-4-12 at the legal rate of 8.25%1 commencing on

December 5, 2018, the day Final Judgment was entered in this matter.



       IT IS SO ORDERED, this       ^ day of April, 2019, nunc pro tunc December 5, 2018.




                                                       onorable Joseph C. lannazzonj
                                                      Senor Judge, State Court of Gwi:     County
                                                                                    nrmett Co
                                                      By Designation




 1 “All judgments in this state shall bear annual interest upon the principal amount recovered at a
rate equal to the prime rate as published by the Board of Governors of the Federal Reserve
System, as published in statistical release H. 15 or any publication that may supersede it, on the
day the judgment is entered plus 3 percent.” O.C.G.A. § 7-4-12(a). The Federal Reserve Board
prime bank loan in effect on December 3, 2018 was 5.25% per annum according to the Board of
Governors of the Federal Reserve System statistical release H. 15 for the week including
December 3, 2018. (https://www.federalreserve.gov/datadownload/Preview.aspx?pi=400&rel=
HI5&preview=Hl5/HI5/RIFSPBLP_N.WW; http://www.fedprimerate.com/wall_street_
j oumaljprime_rate_history .htm).
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